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                           FEDERAL BUREAU OF INVESTIGATION
                                           Electronic Communication




          Title: (U) Request to open a full investigation                   Date:   09/09/2021
                 into an alleged murder-for-hire scheme

          From:         ALBANY
                           AL-5 VCMO/OC/TOC/SWB/PLRA
                           Contact: Brian M. DeCarr

          Approved By: SSA Michael E. Dwyer

          Drafted By:         Brian M. DeCarr

          Case ID #: 166C-AL-3491673             (U) Christopher Pence (subject); Christina
                                                 Cordero (victim); Francisco Cordero
                                                 (victim); Murder-for-hire

                                   CONFIDENTIAL HUMAN SOURCE INFORMATION
          Information contained in this document pertains to the identity of a
          confidential human source (CHS). Disclosure of a CHS's identity, including the
          dissemination of information received from or regarding the CHS that tends to
          identify him or her, may be approved only when it is legally required or
          absolutely necessary to achieve important investigative, public policy, or
          safety objectives. Approval of the SAC from the office where the CHS is assigned
          is required to disclose the identity of a CHS, unless: 1) FBI personnel disclose
          the CHS's identity to another FBI employee who, in the performance of his or her
          official duties, has a duty to know this information; 2) FBI personnel disclose
          the CHS's identity to the DOJ when a CHS has been called to testify in a grand
          jury or judicial proceeding; or 3) FBI personnel are required to disclose the
          identity by court order, law, regulation, the AGG-CHS, or other DOJ policies.



          Synopsis: (U) Request authority to initiate a full investigation into an
          alleged murder-for-hire scheme set to take place in the Federal Bureau of
          Investigation, Albany Division's area of responsibility.

          Enclosure(s): Enclosed are the following items:
          1. (U) Conversations and financial transactions scraped from dark web
          murder-for-hire market
          2. (U) National Cyber Investigative Task Force (NCIJTF) Graph
          3. (U) Emails with the National Cyber Investigative Task Force (NCIJTF)

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4.    (U) Coinbase graph
5.    (U) Coinbase graph (zoomed in)
6.    (U) Coinbase communications

Details:

SSA authority is requested to initiate the captioned investigation
involving a murder-for-hire scheme.

The following information regarding the captioned murder-for-hire scheme
is known at this time:




1) Case predication:

     On Thursday, September 2, 2021, information was received from the
Federal Bureau of Investigation (FBI) Knoxville Division regarding a
murder-for-hire. FBI Knoxville Special Agent Clay Anderson has a
Confidential Human Source (CHS) that provided credible and reliable
information that two people, Christina Cordero, date of birth July 17,
1984, and Francisco Cordero, date of birth July 31, 1987, currently
living in Hoosick Falls, New York are the targets of a murder for hire
scheme.

     The CHS provided information from a sub-source who can scrape certain
dark web market sites that pertain to murder-for-hire. At this time, it
is believed that the sites are scams, and that no real hitmen are being
dispatched to carry out hits. The CHS previously reported similar
information regarding different murder-for-hire schemes which was
disseminated to the appropriate FBI field office for further
investigation. The intelligence provided by the CHS in those cases led to
the arrest of multiple subjects correctly identified as the subjects that
placed the hit.


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  The information provided by the CHS for the murder-for-hire
investigation being conducted by FBI Albany was analyzed by the FBI
National Cyber Investigative Joint Task Force (NCIJTF), and as a result,
a Coinbase account was identified as the account used to make the
cryptocurrency payment ordering the hits on Christina Cordero and
Francisco Cordero. An exigent request was submitted to Coinbase. The
returns showed the Coinbase account belonged to Christopher Pence, date
of birth May 24, 1980, of Utah, United States.

  On Friday, September 3, 2021, FBI Albany Special Agents Brian DeCarr
and Patrick Lydon interviewed the potential victims, Christina Cordero
and Francisco Cordero. The interviews corroborated the information
received from FBI Knoxville and from the investigative work done by FBI
Albany prior to conducting the interviews. Additionally, the interviews
revealed a motive for Pence.




2) Identify pertinent background and significance of subject(s) being
targeted:

  The subject has no known pertinent background or significance.




3) Identify pertinent background information on each known subject:

  The subject has no known pertinent background information.




4) Identify type of violations committed:

  Title 18 U.S Code 1958 - Use of interstate commerce facilities in the
commission of murder-for-hire.


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5) Identify assisting agencies, if a joint investigation:

  At this time, there are no assisting agencies.




6) Description of the investigative plan and objectives for the next 180
days:

  The FBI Albany Division conducted baseline checks on the subject,
victims, and relevant associates to the subject for the purposes of
gathering intelligence, identifying links, and corroborating or verifying
the information and evidence obtained through the course of the
investigation.

  Interviews with the victims were completed.      Continued communication
or follow up interviews with the victims will be done when appropriate.

  FBI Albany will identify and subpoena financial records for the
subject in an effort to further link payments made for the hits purchased
on the dark web to the subject.

  An undercover employee will be utilized to make contact with the
subject posing as a hitman that has taken the job requested by the
subject in order for the FBI to further gather evidence.

  Collaboration with the FBI Salt Lake City Division as well the
appropriate Resident Agency, St. George, will be done to coordinate
surveillance on the subject where and when applicable.

  FBI Albany will work closely with the United State Attorney's Office
in the Northern District of New York to determine the progress and
directionality of the case with a goal to conduct an arrest operation


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which will likely include the execution of search warrants.




7) Describe sensitive circumstances, if any:

     There are currently no known sensitive circumstances.



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